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                                                                                                                                                                         Calendar No. 19
                                                                                   112TH CONGRESS                                                                                                 REPORT
                                                                                                  "                                            SENATE                                    !
                                                                                      1st Session                                                                                                 112–38




                                                                                       THE RAILROAD ANTITRUST ENFORCEMENT ACT OF 2011



                                                                                                                         JULY 18, 2011.—Ordered to be printed




                                                                                                       Mr. LEAHY, from the Committee on the Judiciary,
                                                                                                                   submitted the following


                                                                                                                                      R E P O R T
                                                                                                                                       [To accompany S. 49]

                                                                                                        [Including cost estimate of the Congressional Budget Office]

                                                                                     The Committee on the Judiciary, to which was referred the bill
                                                                                   (S. 49), to amend the Federal antitrust laws to provide expanded
                                                                                   coverage and to eliminate exemptions from such laws that are con-
                                                                                   trary to the public interest with respect to railroads, having consid-
                                                                                   ered the same, reports favorably thereon, without amendment, and
                                                                                   recommends that the bill do pass.
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                                                                                             I. BACKGROUND AND PURPOSE OF THE RAILROAD ANTITRUST
                                                                                                              ENFORCEMENT ACT
                                                                                                                                       A. INTRODUCTION

                                                                                     The purpose of S. 49, the Railroad Antitrust Enforcement Act of
                                                                                   2011, is to remove current exemptions and subject the American
                                                                                   freight railroad industry to all the provisions of the Nation’s anti-
                                                                                   trust laws. This legislation will ensure that interested parties suf-
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                                                                                   fering from anti-competitive railroad practices that would other-
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                                                                                   wise be actionable under U.S. antitrust law will have access to
                                                                                   those causes of action in Federal district court. In addition, Govern-
                                                                                   ment enforcement agencies, including the United States Depart-
                                                                                   ment of Justice and the Federal Trade Commission (FTC), as well
                                                                                   as state attorneys general acting on behalf of their citizens, will be
                                                                                   able to fully enforce the antitrust laws to prevent anti-competitive
                                                                                   mergers and anti-competitive business practices.
                                                                                      Under current law, the railroad industry is exempted from anti-
                                                                                   trust law in most respects. Virtually no other industry enjoys such
                                                                                   a broad exemption from the antitrust laws. There is no basis for
                                                                                   this broad antitrust immunity, especially since the railroad indus-
                                                                                   try has been largely deregulated since the passage of the Staggers
                                                                                   Rail Act in 1980.
                                                                                      The bill is prospective, but will apply to any current anti-com-
                                                                                   petitive practices that continue after 180 days following the date of
                                                                                   enactment of this Act. The purpose of the grace period is to give
                                                                                   the freight railroad carriers time to cure their previously exempt
                                                                                   conduct. The bill will allow the Justice Department and the FTC
                                                                                   to sue to enjoin any future railroad merger or acquisition, whether
                                                                                   or not approved by the Surface Transportation Board (STB), if the
                                                                                   Justice Department or FTC believes that merger or acquisition vio-
                                                                                   lates the antitrust laws. After the enactment of S. 49, anti-competi-
                                                                                   tive business practices engaged in by railroads will be subject to
                                                                                   antitrust scrutiny and could be subject to civil actions for treble
                                                                                   damages and injunctive relief. Among these are two current prac-
                                                                                   tices that rail customers believe to be anti-competitive—so-called
                                                                                   ‘‘paper barriers’’ and so-called ‘‘bottlenecks,’’ as explained below.
                                                                                                                   B. NEED FOR LEGISLATION

                                                                                   1. The Staggers Rail Act of 1980
                                                                                      This legislation is needed because there is a lack of competition
                                                                                   in the national freight rail system today.1 In 1980, Congress passed
                                                                                   the Staggers Rail Act, the purpose of which was to partially de-
                                                                                   regulate the Nation’s railroad industry and replace government
                                                                                   regulation with market competition to the extent possible. When
                                                                                   the legislation was passed, Congress did not remove the antitrust
                                                                                   exemptions protecting the railroad industry. These antitrust ex-
                                                                                   emptions had been extended to the Nation’s railroads when they
                                                                                   were subject to a pervasive regulatory system in which prior ap-
                                                                                   proval by the Interstate Commerce Commission (ICC) was required
                                                                                   for most of their actions and transactions, a regulatory system that
                                                                                   was no longer in place after the 1980 legislation.
                                                                                      The new regulatory system provided by Congress in the Staggers
                                                                                   Rail Act of 1980 recognized that some customers who require rail-
                                                                                   road service would continue to have access to service by a single
                                                                                   freight railroad and that these ‘‘captive’’ customers could be subject
                                                                                   to railroad monopoly power. The ICC, which was replaced by the
                                                                                   STB of the United States Department of Transportation through
                                                                                      1 This legislation addresses freight railroads, and is not intended to have any effect on the
                                                                                   passenger operations of Amtrak. While Amtrak is deemed a ‘‘railroad’’ for the purpose of certain
                                                                                   Federal laws, most of the provisions of subtitle IV of title 49 do not apply to Amtrak. See 49
                                                                                   U.S.C. § 24301(c). Specifically, the bill does not affect 49 U.S.C. § 24301(j) (Section 306(e) of Pub.
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                                                                                   L. No. 91–518 (1970), recodified without substantive change by Pub. L. No. 103–272 (1994)),
                                                                                   which provides that agreements entered into by Amtrak for the joint use or operation of facili-
                                                                                   ties and equipment necessary for the provision of expeditious and efficient passenger service are
                                                                                   exempt from the antitrust laws.




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                                                                                   the ICC Termination Act of 1995, was directed by Congress to en-
                                                                                   sure rail customer access to competition where possible and protect
                                                                                   rail customers from unreasonable rates and practices where com-
                                                                                   petition is not available. The directions to the ICC, now the STB,
                                                                                   for implementing the Staggers Rail Act of 1980 are contained in 49
                                                                                   U.S.C. § 10101 and stress the pro-competitive policy that was to
                                                                                   guide implementation of the Act.
                                                                                   2. Lack of competition in the national rail system
                                                                                      Despite the directive of Congress in 1980, the United States Sen-
                                                                                   ate Committee on the Judiciary received significant evidence that
                                                                                   there is a lack of competition in the national rail system today. An
                                                                                   October 2006 Government Accountability Office (GAO) report re-
                                                                                   viewing the effectiveness of the Staggers Rail Act of 1980 found
                                                                                   that there remains a lack of competition in the freight rail industry
                                                                                   resulting in the continued existence of captive rail customers. That
                                                                                   report found that shippers in many geographic areas ‘‘may be pay-
                                                                                   ing excessive rates due to a lack of competition in these markets.’’ 2
                                                                                      Additionally, a September 2010 staff report of the Senate Com-
                                                                                   mittee on Commerce, Science and Transportation makes clear how
                                                                                   railroads have benefited from the unique combination of deregula-
                                                                                   tion and large-scale antitrust immunity. Since 2004, Class I rail-
                                                                                   roads—that is, large railroads with extensive route structures—
                                                                                   have been increasing prices by an average of five percent a year
                                                                                   above inflation. And even during the recent recession, while other
                                                                                   modes of freight transportation cut their rates, the Class I rail-
                                                                                   roads have been able to push year-over-year price increases onto
                                                                                   their customers. The Report stated: ‘‘The four class I railroads that
                                                                                   today dominate the U.S. rail shipping market are achieving returns
                                                                                   on revenue and operating ratios that rank them among the most
                                                                                   profitable businesses in the U.S. economy.’’ 3 The four largest rail-
                                                                                   roads nearly doubled their collective profit margins in the last dec-
                                                                                   ade to 13 percent, ranking the railroad industry the fifth most prof-
                                                                                   itable industry according to Fortune magazine.4 The Commerce
                                                                                   Committee Report concluded that ‘‘Class I freight railroads have
                                                                                   regained the pricing power they lacked in the 1980s, and now are
                                                                                   some of the most highly profitable businesses in the U.S. econ-
                                                                                   omy.’’ 5
                                                                                      These unjustified cost increases cause harm throughout the econ-
                                                                                   omy. Consumers suffer higher electricity bills because a utility
                                                                                   must pay for the high cost of transporting coal; manufacturers who
                                                                                   rely on railroads to transport raw materials charge a higher price
                                                                                   for their goods; and American farmers who ship their products by
                                                                                   rail pass on these cost increases in the form of higher food prices.
                                                                                   The 2006 GAO Report also found that the STB is not exercising its
                                                                                   powers effectively to ensure rail customers access to competition. In
                                                                                   addition, a 2010 Morgan Stanley analysis of the rail industry
                                                                                   echoed the GAO noting that in the current environment of strong
                                                                                     2 U.S. Government Accountability Office, Report to Congressional Requesters, ‘‘FREIGHT
                                                                                   RAILROADS: Industry Health Has Improved, but Concerns about Competition and Capacity
                                                                                   Should Be Addressed,’’ Report #GAO–07–94 (October 2006) at 43.
                                                                                     3 Senate Committee on Commerce, Science, and Transportation. ‘‘The Current Financial State
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                                                                                   of The Class I Freight Rail Industry.’’ Staff Report for Chairman Rockefeller, September 15,
                                                                                   2010 (‘‘2010 Commerce Committee Freight Rail Report’’), at 1, 8.
                                                                                     4 Id. at 4–5.
                                                                                     5 Id. at 8.




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                                                                                   railroad pricing power, ‘‘[r]ate negotiations continue to be difficult
                                                                                   for shippers and competition remains minimal.’’ 6
                                                                                      The GAO’s and Commerce Committee’s findings were echoed by
                                                                                   the Attorneys General of 20 states and the District of Columbia. In
                                                                                   a March 2009 letter to Congress calling for an abolition of the rail-
                                                                                   road antitrust exemption, the Attorneys General wrote: ‘‘The anti-
                                                                                   trust exemption currently enjoyed by the railroad industry does not
                                                                                   seem to have benefited competition. . . . In this concentrated mar-
                                                                                   ket, shippers have reported that they are subjected to supra-com-
                                                                                   petitive rates on monopoly routes.’’ 7
                                                                                      The severe consolidation in the railroad industry has greatly ex-
                                                                                   acerbated this lack of competition. In 1976, there were 30 inde-
                                                                                   pendent Class I railroad systems operating in the Nation, con-
                                                                                   sisting of 63 Class I railroads. Today, there are only seven Class
                                                                                   I railroads operating in the Nation, only four of which carry 90 per-
                                                                                   cent of all freight railroad traffic in the United States. In 2008,
                                                                                   these four railroads accounted for over 90 percent of Class I freight
                                                                                   shipments and over 92 percent of Class I railroads’ $61 billion in
                                                                                   revenues.8 The evidence received by the Committee indicates that
                                                                                   the current lack of competition in the national freight rail system
                                                                                   is the result of this drastic consolidation as well as several rulings
                                                                                   by the ICC and the STB that have allowed a number of anti-com-
                                                                                   petitive practices to exist.
                                                                                   3. Disparate treatment of the railroad industry from other regulated
                                                                                        industries
                                                                                     One important purpose of S. 49 is to have the railroad industry
                                                                                   treated the same as other regulated industries, including transpor-
                                                                                   tation industries. Many industries in our economy are subject to
                                                                                   regulation—including notably the telecommunications sector, ex-
                                                                                   tensively regulated by the Federal Communications Commission—
                                                                                   yet enjoy no antitrust exemption. Telecommunications mergers, for
                                                                                   example, are reviewed by the FCC under a public interest stand-
                                                                                   ard, yet are fully subject to antitrust law and also reviewed by the
                                                                                   Justice Department under the Clayton Act.
                                                                                     Importantly, even transportation industries similarly situated to
                                                                                   the railroad industry enjoy no antitrust exemption. For example,
                                                                                   the aviation industry comes under the regulatory supervision of the
                                                                                   Transportation Department and Federal Aviation Administration,
                                                                                   and the Transportation Department is empowered under the
                                                                                   Transportation Act to take action to prevent an ‘‘unfair method of
                                                                                   competition’’ in aviation.9 Still, the aviation industry is generally
                                                                                   subject to antitrust law and aviation mergers are reviewed by the
                                                                                   Justice Department under the Clayton Act.
                                                                                       6 Id. at 9.
                                                                                      7 March 17, 2009 Letter from the Attorneys General of Arizona, Arkansas, California, Con-
                                                                                   necticut, Delaware, Idaho, Iowa, Kentucky, Maine, Maryland, Massachusetts, Minnesota, Mon-
                                                                                   tana, New Jersey, New Mexico, North Carolina, North Dakota, Oklahoma, South Dakota, and
                                                                                   Utah to Majority Leader Harry Reid, Minority Leader Mitch McConnell, Speaker Nancy Pelosi,
                                                                                   and Minority Leader John Boehner.
                                                                                      Additionally, the American Bar Association’s Section of Antitrust Law expressed support for
                                                                                   the enactment of the Railroad Antitrust Enforcement Act (S. 772 in the 110th Congress, iden-
                                                                                   tical to the present S. 49 in the 112th Congress), stating that the ‘‘Section supports these steps
                                                                                   and encourages Congress to move forward quickly to dismantle the antitrust exemption for the
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                                                                                   railroad industry, through the Railroad Antitrust Enforcement Act.’’ December 10, 2008 Com-
                                                                                   ments of the ABA Section of Antitrust Law on the Railroad Antitrust Enforcement Act, at 1.
                                                                                      8 2010 Commerce Committee Freight Rail Report, at 3.
                                                                                      9 49 U.S.C. § 41712.




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                                                                                     Other transportation industries that are subject to the super-
                                                                                   vision of the STB—such as trucking and domestic marine ship-
                                                                                   ping—do not enjoy the same broad antitrust exemption as that en-
                                                                                   joyed by the railroad industry. Removal of the special railroad anti-
                                                                                   trust exemption will result in the railroad industry being treated
                                                                                   in the same manner under antitrust law as other industries subject
                                                                                   to regulatory oversight.
                                                                                   4. Mergers and acquisitions
                                                                                      Under current law, Section 7 of the Clayton Act, which bans
                                                                                   mergers which may substantially ‘‘lessen competition’’ or ‘‘tend to
                                                                                   create a monopoly’’ does not apply to the railroad industry. Instead,
                                                                                   the STB decides whether and under what conditions mergers and
                                                                                   acquisitions of railroads may occur pursuant to a ‘‘public interest’’
                                                                                   test. The Justice Department’s role is limited to filing comments
                                                                                   with the STB, which are not binding in any respect and which the
                                                                                   STB is free to ignore. On at least one occasion since 1980, the Jus-
                                                                                   tice Department filed comments with the STB against a proposed
                                                                                   merger, but the comments were ignored and the merger approved
                                                                                   (the 1996 merger of the Union Pacific Railroad and the Southern
                                                                                   Pacific Railroad). On a number of other occasions, the Justice De-
                                                                                   partment filed comments with the STB recommending certain con-
                                                                                   ditions on proposed mergers that were not adopted by the STB. In
                                                                                   all of these cases, neither the Justice Department nor the FTC was
                                                                                   empowered to sue in Federal district court to ensure that the merg-
                                                                                   er or acquisition was consistent with the Nation’s antitrust laws.
                                                                                      The Railroad Antitrust Enforcement Act of 2011 will bring rail-
                                                                                   road mergers inside the ambit of Section 7 of the Clayton Act and
                                                                                   empower the antitrust enforcement agencies (likely the Justice De-
                                                                                   partment) 10 to file suit to block anti-competitive mergers and ac-
                                                                                   quisitions. It will therefore ensure that future railroad mergers and
                                                                                   acquisitions need not merely meet the ‘‘public interest’’ test imple-
                                                                                   mented by the STB but also meet the merger standard of the Na-
                                                                                   tion’s antitrust laws.11 The STB will retain its jurisdiction to re-
                                                                                   view and approve or disapprove mergers and acquisitions pursuant
                                                                                   to its ‘‘public interest’’ test. However, the merger also will have to
                                                                                   satisfy antitrust law, and will be subject to antitrust enforcement
                                                                                   in Federal court by the Justice Department, regardless of what the
                                                                                   STB determines under its public interest test. In this regard, merg-
                                                                                   ers and acquisitions in the railroad industry will be treated in an
                                                                                   identical manner to mergers and acquisitions in many other indus-
                                                                                   tries subject to Federal regulatory review. For example, mergers
                                                                                   and acquisitions in the telecommunications industry are reviewed
                                                                                   under a public interest test by the Federal Communications Com-
                                                                                   mission, while also being subject to antitrust law and challenge by
                                                                                   the Justice Department under the Clayton Act. There is no reason
                                                                                   for the railroad industry to be treated any differently.
                                                                                      10 Although both the Justice Department and the Federal Trade Commission have the author-
                                                                                   ity to enforce the antitrust laws, traditionally the Justice Department reviews mergers in the
                                                                                   transportation sector.
                                                                                      11 These provisions providing for review of mergers and acquisitions by the Justice Depart-
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                                                                                   ment under Section 7 of the Clayton Act apply only to mergers and acquisitions occurring after
                                                                                   the date of enactment of the bill. See section 8(b)(1) of S. 49, which expressly states that a civil
                                                                                   action under the Clayton Act ‘‘may not be filed with respect to any conduct or activity that oc-
                                                                                   curred prior to the date of enactment of this Act that was previously exempted from the laws.’’




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                                                                                   5. Bottlenecks or refusal to quote rates
                                                                                      Many rail customers are served by a single railroad at either the
                                                                                   origin or the destination of their rail shipment, the so-called ‘‘cap-
                                                                                   tive shippers.’’ These customers do not have the benefit of competi-
                                                                                   tion and often face very high rail rates. Even though they are ‘‘cap-
                                                                                   tive’’ to a single railroad at origin or destination, often a competing
                                                                                   railroad is available for at least part of the distance between origin
                                                                                   and destination through an interconnection with the railroad that
                                                                                   holds the customer captive. In the mid-1990s the question arose be-
                                                                                   fore the STB of whether the railroad that holds the customer cap-
                                                                                   tive at origin or destination must provide a rate for moving the cus-
                                                                                   tomer’s freight to the competing railroad. Stated simply, does a
                                                                                   railroad have an obligation to allow its captive customer to have ac-
                                                                                   cess to the competing railroad or can a railroad hold the customer
                                                                                   captive for the entire length of the shipment?
                                                                                      This question was decided by the STB on December 27, 1996, in
                                                                                   a case referred to as the ‘‘bottleneck’’ decision.12 In this case, the
                                                                                   STB ruled that the rail carrier providing single line service to the
                                                                                   customer was not required to provide a rate that would allow the
                                                                                   customer to reach a competing rail line. Such conduct would be
                                                                                   subject to antitrust scrutiny, were it not for the railroad antitrust
                                                                                   exemption.
                                                                                      In 2004, the then-Chairman of the House Judiciary Committee,
                                                                                   Congressman F. James Sensenbrenner, Jr., asked the Justice De-
                                                                                   partment to comment on whether the practice of refusing to pro-
                                                                                   vide rates to points of competition would violate the Nation’s anti-
                                                                                   trust laws if the railroad industry exemption from those laws did
                                                                                   not exist. On September 27, 2004, Assistant Attorney General Wil-
                                                                                   liam E. Moschella responded as follows:
                                                                                           The first practice is the refusal by a railroad that con-
                                                                                        trols one segment of a freight movement to quote rates
                                                                                        separately for that ‘‘bottleneck’’ segment, instead quoting
                                                                                        rates only for the entire freight movement. You note that
                                                                                        this practice denies shippers the benefits of competition on
                                                                                        segments of the move where an alternative carrier might
                                                                                        compete for the business. Because of the Surface Transpor-
                                                                                        tation Board’s involvement in approving these rates, and
                                                                                        its acceptance of this practice, relief may not be available
                                                                                        under the antitrust laws. If this practice were subject to
                                                                                        the antitrust laws, it could be evaluated as a refusal to
                                                                                        deal in possible violation of section 2 of the Sherman Act,
                                                                                        or as a tying arrangement in possible violation of section
                                                                                        1 of the Sherman Act. Whether it would constitute an anti-
                                                                                        trust violation would depend on the particular facts.
                                                                                      The Committee believes that this conduct should properly be sub-
                                                                                   ject to scrutiny under the antitrust laws. The Railroad Antitrust
                                                                                   Enforcement Act of 2011 will remove the freight railroad industry’s
                                                                                   exemption from the antitrust law and allow a plaintiff to bring an
                                                                                     12 The decision was made in case No. 41242, Central Power and Light Company v. Southern
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                                                                                   Pacific Transportation Company and covered two other cases with which it was consolidated:
                                                                                   No. 41295, Pennsylvania Power and Light Company v. Consolidated Rail Corporation, and No.
                                                                                   41626, MidAmerican Energy Company v. Union Pacific Railroad Company and Chicago and
                                                                                   North Western Railway Company.




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                                                                                   antitrust lawsuit to seek to enjoin this practice in Federal district
                                                                                   court as a violation of the Sherman Act.13
                                                                                   6. Paper barriers or tying agreements
                                                                                      One of the objectives of the Staggers Rail Act of 1980 was to
                                                                                   allow the Class I railroads increased flexibility to rationalize their
                                                                                   systems by discarding under-utilized and excess rail capacity. The
                                                                                   railroad industry responded by petitioning the ICC, later the STB,
                                                                                   to allow the abandonment of tens of thousands of miles of track.
                                                                                   In addition, the Class I railroads began to transfer the operating
                                                                                   rights of other tracks to ‘‘short line’’ railroads, many of which were
                                                                                   created to operate track formerly operated by a major railroad.
                                                                                   Each of these transactions required approval of the ICC, later the
                                                                                   STB, but the agreements between the major railroad and the short-
                                                                                   line railroad were kept confidential as part of the public review of
                                                                                   the transaction. In many cases, the short-line railroad involved had
                                                                                   the physical ability to deliver freight to more than one Class I rail-
                                                                                   road.
                                                                                      Often long after the transaction was approved by the ICC or the
                                                                                   STB, customers of the short line railroad found that there were
                                                                                   provisions in the agreement between the Class I and short line
                                                                                   railroad that prevented the short line from delivering or receiving
                                                                                   a meaningful amount of freight from any Class I railroad except
                                                                                   the Class I railroad with which it had the operating agreement.
                                                                                   Thus, even though the short line has the physical ability to deliver
                                                                                   or receive freight from more than one Class I railroad, a ‘‘paper
                                                                                   barrier’’ or ‘‘tying agreement’’ prevents access to a competing rail-
                                                                                   road.
                                                                                      In his 2004 letter, then-House Judiciary Committee Chairman
                                                                                   Sensenbrenner asked the Justice Department about these ‘‘paper
                                                                                   barriers.’’ The September 27, 2004 response by Assistant Attorney
                                                                                   General Moschella states:
                                                                                          The second industry practice you describe is ‘‘paper bar-
                                                                                        riers.’’ Paper barriers are created when Class I railroads
                                                                                        spin off segments of their trackage to short-line or low-
                                                                                        density carriers with contractual terms that prohibit the
                                                                                        acquiring carriers from competing with the Class I rail-
                                                                                        roads for business. Since these contractual terms are part
                                                                                        of an underlying sale transaction that is reviewed and ap-
                                                                                        proved by the Surface Transportation Board, they may be
                                                                                        exempted from the reach of the antitrust laws, depending
                                                                                        on the scope of the approval language in each of the
                                                                                        Board’s relevant orders. If paper barriers were subject to
                                                                                        the antitrust laws, they would be evaluated under section
                                                                                        1 of the Sherman Act. The Department would examine
                                                                                        whether the restraint is ancillary to the sale of the track-
                                                                                        age—i.e. whether the restraint is reasonably necessary to
                                                                                        achieve the pro-competitive benefits of the sale.
                                                                                      The Committee believes that that these ‘‘paper barriers’’ should
                                                                                   be subject to scrutiny under the antitrust laws. The Railroad Anti-
                                                                                   trust Enforcement Act of 2011 will remove the railroad industry’s
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                                                                                      13 As is plain from the text of S. 49, the bill does not create a presumption that any railroad
                                                                                   conduct or practice specified herein is or is not illegal; whether or not any conduct or practice
                                                                                   is illegal will be determined by the application of substantive antitrust law.




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                                                                                   antitrust exemption, allowing a plaintiff to bring an antitrust ac-
                                                                                   tion to seek to enjoin these restrictive provisions—or obtain treble
                                                                                   damages for losses caused by these provisions—in a Federal dis-
                                                                                   trict court.
                                                                                   7. Removal of STB primary jurisdiction
                                                                                      The Railroad Antitrust Enforcement Act of 2011 also removes
                                                                                   any requirement that a district court defer to the primary jurisdic-
                                                                                   tion doctrine of the STB in railroad antitrust cases. Without this
                                                                                   provision, parties may be able to avoid antitrust scrutiny by con-
                                                                                   vincing a court it is required to defer to the STB. Clarifying the law
                                                                                   in this area is necessary to ensure that the elimination of the anti-
                                                                                   trust exemptions is effective.14
                                                                                      Moreover, the need for an express statement that the courts need
                                                                                   not defer to the administrative agency is necessary in light of re-
                                                                                   cent Supreme Court decisions involving the role of antitrust law in
                                                                                   regulated industries, including its 2007 ruling that antitrust law
                                                                                   was preempted by a regulatory scheme when the law was silent re-
                                                                                   garding a conflict between antitrust law and the regulation of the
                                                                                   securities industry.15
                                                                                      The Committee believes that the STB’s shortcomings in its ef-
                                                                                   forts to protect consumers from anti-competitive actions by regu-
                                                                                   lated railroads, including mergers and acquisitions, warrants mak-
                                                                                   ing the Federal courts, applying antitrust law, the primary protec-
                                                                                   tors of competition in all aspects of the rail freight industry. If
                                                                                   courts were required to defer to the STB under the primary juris-
                                                                                   diction doctrine, then the whole purpose of S.49 would be under-
                                                                                   mined because antitrust scrutiny may be avoided. Railroads would
                                                                                   be able to use the STB’s primary jurisdiction as a kind of ‘‘stealth
                                                                                   preemption’’ of the antitrust courts’ newly-restored role. The STB
                                                                                   has no experience in applying antitrust law and many of its deci-
                                                                                   sions reach results contrary to antitrust principles. For this reason,
                                                                                   section 4 of S.49 provides that in any antitrust action, a Federal
                                                                                   district court is not required to defer to the primary jurisdiction of
                                                                                   the STB.
                                                                                                                  C. EFFECT OF LEGISLATION

                                                                                     The elimination of the railroad antitrust exemption will change
                                                                                   the law in several respects. Private plaintiffs (such as rail cus-
                                                                                   tomers) will be able to bring complaints in Federal district court for
                                                                                   treble damages and/or injunctive relief that specific actions of the
                                                                                   railroads violate the antitrust laws. Unlike under current law,
                                                                                   whether or not the Surface STB has reviewed or approved railroad
                                                                                   conduct will be irrelevant to the application of antitrust law. The
                                                                                   fact that railroad conduct is approved by the STB will no longer di-
                                                                                      14 Without congressional action, the primary jurisdiction doctrine would apply in the antitrust
                                                                                   cases that S.49 would make possible. First, the lead case on the general primary jurisdiction
                                                                                   doctrine involved the ICC: United States v. W. Pac. R.R. Co., 352 U.S. 59, 64–65, 65–66 (1956)
                                                                                   (mandating suspension of judicial proceedings pending referral to the ICC). Second, the doctrine
                                                                                   is applicable in antitrust cases. See e.g. Ricci v. Chicago Mercantile Exch., 409 U.S. 289 (1973).
                                                                                   The Ricci case tries to reconcile cases in which the Supreme Court has held that the doctrine
                                                                                   does not apply in some antitrust cases (e.g., California v. Federal Power Comm’n, 369 U.S. 482
                                                                                   (1962); Silver v. New York Stock Exch., 373 U.S. 341 (1963)), but does apply in others. Thus,
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                                                                                   the primary jurisdiction doctrine has become a substantial obstacle for the application of anti-
                                                                                   trust law in regulated industries.
                                                                                      15 See Credit Suisse Sec v. Billing, 127 S. Ct. 2383 (2007); see also Verizon Commc’n v. Trinko,
                                                                                   540 U.S. 398 (2004).




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                                                                                   vest courts from jurisdiction over the application of antitrust law
                                                                                   to that conduct.
                                                                                      Conduct subject to such private antitrust litigation will include
                                                                                   (but not be limited to) actions challenging: arrangements where
                                                                                   major railroads spin off or lease segments of their tracks to short
                                                                                   line carriers with contractual terms that prohibit the acquiring car-
                                                                                   rier from competing with the major railroads (known as ‘‘paper bar-
                                                                                   riers,’’ as described above); situations where there is competition
                                                                                   for a portion, but not all, of the journey, and railroads refuse to
                                                                                   quote rates for the ‘‘bottleneck’’ portion of the trip (the ‘‘bottleneck’’
                                                                                   situation, as described above); and the practice of railroads publicly
                                                                                   disclosing tentative prospective shipping rates, which could facili-
                                                                                   tate collusion among competing railroads and result in increased
                                                                                   prices.16
                                                                                      The Federal antitrust enforcement agencies (the Justice Depart-
                                                                                   ment and FTC) will also be empowered to bring antitrust lawsuits
                                                                                   in Federal court to enjoin conduct by railroads which violates the
                                                                                   antitrust laws. The legislation removes the railroad common car-
                                                                                   rier exemption prohibiting the FTC from bringing antitrust law-
                                                                                   suits against the railroads, so both the FTC and Justice Depart-
                                                                                   ment will have full authority to enforce the antitrust laws with re-
                                                                                   spect to the railroad industry. In addition, state attorneys general
                                                                                   could bring actions in Federal court on behalf of their citizens chal-
                                                                                   lenging allegedly anti-competitive railroad practices as violative of
                                                                                   antitrust law.
                                                                                      The legislation will also allow the Justice Department,17 state
                                                                                   Attorneys General, and private citizens to challenge under anti-
                                                                                   trust law in Federal district court railroad mergers and acquisi-
                                                                                   tions, regardless of whether they are approved by the STB. This is
                                                                                   a substantial change from current law under which only the STB
                                                                                   may take action to block or modify a railroad merger or acquisition,
                                                                                   and which divests authority from the Justice Department to file
                                                                                   suit under the Clayton Act to enjoin a railroad merger or acquisi-
                                                                                   tion.
                                                                                      The bill is intended to apply prospectively, including to any on-
                                                                                   going conduct previously immunized from antitrust law that is still
                                                                                   in place 180 days after enactment of the legislation. The bill pro-
                                                                                   vides in section 8 that no antitrust action may be brought with re-
                                                                                   spect to any on-going conduct exempted from antitrust law by the
                                                                                   STB, or its predecessor the ICC, unless the conduct is still ongoing
                                                                                   180 days after enactment of the legislation. This provision is in-
                                                                                   tended to give those affected by the termination of the railroad
                                                                                   antitrust exemption six months to bring their conduct into compli-
                                                                                   ance with antitrust law.
                                                                                      16 However, one type of railroad industry practice, if reviewed and approved by the STB, will

                                                                                   continue to be exempt from the application of antitrust law—specifically, any transaction relat-
                                                                                   ing the pooling of railroad cars approved by the STB pursuant to 49 U.S.C. §11322. Railroad
                                                                                   car pooling arrangements are generally efficiency enhancing because they integrate economic ac-
                                                                                   tivity in a way that promotes competition.
                                                                                      17 Because of the bill’s removal of the railroad common carrier exemption that currently pre-

                                                                                   vents the FTC from enforcing antitrust law against railroad common carriers, the FTC would
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                                                                                   also have jurisdiction to review railroad mergers and acquisitions. See supra at 5–6. Tradition-
                                                                                   ally, however, the Justice Department is the agency that reviews mergers and acquisitions in
                                                                                   transportation industries (for example, the aviation industry). Which agency ultimately assumed
                                                                                   this responsibility would be decided by the Justice Department and FTC.




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                                                                                                                             D. SUMMARY

                                                                                     The objective of the Railroad Antitrust Enforcement Act is simply
                                                                                   to remove the antitrust exemption protecting the railroad industry
                                                                                   and allow antitrust enforcement of railroad industry practices. The
                                                                                   current antitrust exemption enjoyed by the railroad industry is un-
                                                                                   warranted due to the substantial de-regulation of the railroad in-
                                                                                   dustry in recent decades, and has resulted in anti-competitive be-
                                                                                   havior harming railroad customers and consumers. The bill will re-
                                                                                   move this outmoded exemption so that the railroad industry is
                                                                                   treated for purposes of antitrust law like virtually every other in-
                                                                                   dustry in the economy.
                                                                                     By requiring railroads to comply with the antitrust laws like
                                                                                   other major industries operating service networks, S.49 will restore
                                                                                   to railroad customers the benefits of open competition that prevail
                                                                                   elsewhere in the economy, resulting in lower prices and more effi-
                                                                                   cient and more economical rail transportation of grain, coal, chemi-
                                                                                   cals and other products essential to the Nation’s domestic and for-
                                                                                   eign commerce.
                                                                                           II. HISTORY OF THE BILL AND COMMITTEE CONSIDERATION
                                                                                      The Railroad Antitrust Enforcement Act was first introduced in
                                                                                   the 109th Congress by Senator Kohl on June 29, 2006 (S. 3612).18
                                                                                   The bill had one co-sponsor (Senator Feingold). It was referred to
                                                                                   the Committee on the Judiciary. No further action was taken on S.
                                                                                   3612 in the 109th Congress.
                                                                                      On March 6, 2007, Senator Kohl introduced the Railroad Anti-
                                                                                   trust Enforcement Act in the 110th Congress (S. 772). The legisla-
                                                                                   tion had 11 co-sponsors (Senators Feingold, Coleman, Rockefeller,
                                                                                   Vitter, Leahy, Harkin, Dorgan, Biden, Schumer, Lincoln and Klo-
                                                                                   buchar). The bill was reported favorably, with a technical amend-
                                                                                   ment, by the Committee on the Judiciary by voice vote on Sep-
                                                                                   tember 20, 2007.
                                                                                      A hearing on the bill titled ‘‘An Examination of S.772, the Rail-
                                                                                   road Antitrust Enforcement Act’’ was held by the Committee on the
                                                                                   Judiciary’s Subcommittee on Antitrust, Competition Policy and
                                                                                   Consumer Rights on October 3, 2007.
                                                                                      On January 6, 2009, the Railroad Antitrust Enforcement Act of
                                                                                   2011 (S. 49) was introduced in the 111th Congress by Senator
                                                                                   Kohl. The bill had 13 co-sponsors (Senators Leahy, Vitter, Feingold,
                                                                                   Hatch, Schumer, Klobuchar, Kaufman, Franken, Rockefeller, Dor-
                                                                                   gan, Harkin, Tim Johnson, and Tester). The language of the bill
                                                                                   was identical to the bill as reported by the Judiciary Committee in
                                                                                   the 110th Congress on September 20, 2007. It was referred to the
                                                                                   Committee on the Judiciary.
                                                                                      In its business meeting of March 5, 2009, the Committee voted
                                                                                   to report the Railroad Antitrust Enforcement Act of 2009, without
                                                                                   amendment, favorably to the Senate. The Committee proceeded by
                                                                                   roll call vote as follows:
                                                                                      Tally: 14 Yeas, 0 Nays, 5 Pass.
                                                                                      Yeas (14): Leahy (D–VT), Kohl (D–WI), Feinstein (D–CA), Fein-
                                                                                   gold (D–WI), Schumer (D–NY), Durbin (D–IL), Cardin (D–MD),
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                                                                                      18 S. 3612 in 109th Congress was identical to S. 772 as introduced in the 110th Congress, with
                                                                                   the sole exception that the version introduced in the 109th Congress did not include section 8
                                                                                   of the current legislation (‘‘Effective Date’’).




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                                                                                   Whitehouse (D–RI), Wyden (D–OR), Klobuchar (D–MN), Kaufman
                                                                                   (D–DE), Hatch (R–UT), Grassley (R–IA), Kyl (R–AZ).
                                                                                     Pass (5): Specter (R–PA), Sessions (R–AL), Graham (R–SC), Cor-
                                                                                   nyn (R–TX), Coburn (R–OK).
                                                                                     On January 25, 2011, the Railroad Antitrust Enforcement Act of
                                                                                   2011 (S. 49) was introduced in the 112th Congress by Senator
                                                                                   Kohl. The bill has seven co-sponsors (Senators Leahy, Vitter, Schu-
                                                                                   mer, Hatch, Klobuchar, Franken, and Tester). The language of the
                                                                                   bill was identical to the bill as reported by the Judiciary Com-
                                                                                   mittee in the 111th Congress on March 5, 2009. It was referred to
                                                                                   the Committee on the Judiciary.
                                                                                     In its business meeting of March 3, 2011, the Committee voted
                                                                                   to report the Railroad Antitrust Enforcement Act of 2009, without
                                                                                   amendment, favorably to the Senate. The Committee proceeded by
                                                                                   roll call vote as follows:
                                                                                     Tally: 14 Yeas, 1 Nay, 3 Passes.
                                                                                     Yeas (14): Leahy (D–VT), Kohl (D–WI), Feinstein (D–CA), Schu-
                                                                                   mer (D–NY), Durbin (D–IL), Cardin (D–MD), Whitehouse (D–RI),
                                                                                   Klobuchar (D–MN), Coons (D–DE), Blumenthal (D–CT), Grassley
                                                                                   (R–IA), Hatch (R–UT), Kyl (R–AZ), Lee (R–UT).
                                                                                     Nay (1): Cornyn (R–TX).
                                                                                     Pass (3): Sessions (R–AL), Graham (R–SC), Coburn (R–OK).
                                                                                                    III. SECTION-BY-SECTION SUMMARY OF THE BILL
                                                                                   Section 1. Short title
                                                                                      This section provides that the legislation may be cited as the
                                                                                   ‘‘Railroad Antitrust Enforcement Act.’’
                                                                                   Section 2. Injunctions against railroad common carriers
                                                                                     Section 2 of the bill amends section 16 of the Clayton Act of 1914
                                                                                   (15 U.S.C. § 26), which sets forth the principal remedies available
                                                                                   for violations of the Federal antitrust laws. Section 16 permits pri-
                                                                                   vate parties threatened with loss or damage by a violation of the
                                                                                   Federal antitrust laws to sue for injunctive relief against such vio-
                                                                                   lations by a civil action in the courts of the United States. Section
                                                                                   16, however, presently contains a proviso that this fundamental
                                                                                   antitrust remedy is not available against common carriers subject
                                                                                   to regulation by the STB, successor to the functions of the former
                                                                                   ICC under subtitle IV of Title 49 of the United States Code. Section
                                                                                   2 of the bill revises this proviso so that it will apply only to non-
                                                                                   railroad common carriers subject to STB jurisdiction. It thereby
                                                                                   makes injunctive relief available to parties threatened with eco-
                                                                                   nomic injury by antitrust violations of railroad common carriers.
                                                                                   Section 3. Mergers and acquisitions of railroads
                                                                                      Section 3 amends section 7 of the Clayton Act of 1914, which in-
                                                                                   corporates the Cellar-Kefauver Antimerger Act of 1950 (15 U.S.C.
                                                                                   § 18), to make railroad combinations subject to its provisions. Sec-
                                                                                   tion 7 bars anticompetitive mergers, consolidations and acquisi-
                                                                                   tions. It declares unlawful acquisitions of the stock or assets of per-
                                                                                   sons engaged in or affecting interstate commerce ‘‘where in any
                                                                                   line of commerce in any section of the country, the effect of such
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                                                                                   acquisition may be substantially to lessen competition, or to tend
                                                                                   to a monopoly.’’ Proposed or consummated transactions that are




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                                                                                   unlawful under section 7 can be enjoined by Federal courts in civil
                                                                                   actions by Federal antitrust authorities or private parties. The fifth
                                                                                   paragraph in section 7, however, provides that nothing contained
                                                                                   in that section shall apply to transactions duly approved by a num-
                                                                                   ber of Federal agencies acting under other statutes authorizing
                                                                                   such approvals. Among the agencies listed in the fifth paragraph
                                                                                   is the STB, which has statutory authority to approve railroad com-
                                                                                   binations under 49 U.S.C. §§ 11322 (combinations relating to the
                                                                                   pooling or division of traffic and earnings) and 11323 (consolida-
                                                                                   tions, mergers, and acquisitions of control). Section 3 creates an ex-
                                                                                   ception to the fifth paragraph that eliminates this exemption with
                                                                                   respect to STB-approved transactions described in 49 U.S.C.
                                                                                   § 11321, i.e. STB-approved rate agreements or combinations subject
                                                                                   to §§ 11322 and 11323.
                                                                                   Section 4. Limitation of primary jurisdiction
                                                                                     Section 4 removes any requirement that a Federal district court
                                                                                   defer to the primary jurisdiction of the STB in any civil antitrust
                                                                                   action against a common carrier railroad (1) by a private party
                                                                                   seeking treble damages (15 U.S.C. § 15); (2) by the United States
                                                                                   seeking an injunction (15 U.S.C. § 25); or (3) by a private party
                                                                                   seeking an injunction (15 U.S.C. § 26).
                                                                                   Section 5. Federal Trade Commission enforcement
                                                                                      Section 5 changes existing law so that the FTC may enforce the
                                                                                   antimerger and other provisions of the Clayton Act against railroad
                                                                                   common carriers. Section 11(a) of the Clayton Act, 15 U.S.C.
                                                                                   § 21(a), presently vests such authority in the STB. Section 5 of the
                                                                                   bill amends this provision to create an exception to the STB’s en-
                                                                                   forcement jurisdiction under the Clayton Act with respect to two
                                                                                   categories of transactions: STB-approved agreements among two or
                                                                                   more rail carriers relating to rates subject to 49 U.S.C. § 10706;
                                                                                   and transactions described in 49 U.S.C. § 11321, i.e., STB-approved
                                                                                   agreements or combinations subject to §§ 11322 and 11323. Since
                                                                                   section 11(a) of the Clayton Act vests in the FTC authority to en-
                                                                                   force its provisions where enforcement authority is not assigned to
                                                                                   other agencies, the exceptions from the STB’s authority enacted by
                                                                                   section 5 will fall within the jurisdiction of the FTC.
                                                                                   Section 6. Expansion of treble damages to rail common carriers
                                                                                      Section 6 eliminates the judicially-created barrier against recov-
                                                                                   ery of private antitrust damages from railroad carriers under the
                                                                                   ‘‘Keogh Doctrine,’’ which holds that shippers injured by a railroad’s
                                                                                   antitrust violations are limited to the railroad’s filed rate.19 Section
                                                                                   6 of the bill adds a new subsection to the treble damage provision
                                                                                   in section 4 of the Clayton Act. It provides that treble damages
                                                                                   shall be available in civil antitrust suits to parties injured by rail-
                                                                                   road antitrust violations without regard to whether such railroads
                                                                                   have filed rates or whether a complaint challenging rates has been
                                                                                   filed.
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                                                                                       19 Keogh v. Chicago & Northwestern Railway, 260 U.S. 152 (1922).




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                                                                                   Section 7. Termination of antitrust exemptions in title 49
                                                                                      Section 7 eliminates certain exemptions from the antitrust laws
                                                                                   presently enjoyed by railroad common carriers under subchapter IV
                                                                                   of Title 49. First, 49 U.S.C. § 10706(a)(2)(A), (4) and (5) currently
                                                                                   exempt from the antitrust laws ratemaking agreements among
                                                                                   railroads that are approved by the STB. Section 7(a)(1) of the bill
                                                                                   amends this provision by striking the exemption. Second, 49 U.S.C.
                                                                                   § 10706(e) currently provides for a periodic report by the FTC and
                                                                                   the Antitrust Division of the Department of Justice on possible
                                                                                   anti-competitive features of railroad rate agreements approved by
                                                                                   or submitted to the STB. Section 7(a)(2) of the bill strikes this pro-
                                                                                   vision and substitutes a command that nothing in section 10706 ex-
                                                                                   empts proposed agreements described in section 10706 from the
                                                                                   antitrust laws, and a requirement that the STB and any other re-
                                                                                   viewing agency consider the impact of the proposed agreement on
                                                                                   shippers and on affected communities. Third, 49 U.S.C. § 11321
                                                                                   currently exempts from the antitrust laws transactions described
                                                                                   therein, i.e., STB-approved railroad agreements or combinations
                                                                                   subject to 49 U.S.C. § 11322 (combinations relating to the pooling
                                                                                   or division of traffic and earnings), or to 49 U.S.C. § 11323 (consoli-
                                                                                   dations, mergers, and acquisitions of control). Section 7(b)(1)
                                                                                   strikes this exemption. However, any transaction relating the pool-
                                                                                   ing of railroad cars approved by the STB pursuant to 49 U.S.C.
                                                                                   § 11322 is excluded from this language; such railroad car pooling
                                                                                   arrangements will continue to be exempt from antitrust law. Sec-
                                                                                   tion 7(b)(2) adds to 49 U.S.C. § 11321 a new subsection (c) man-
                                                                                   dating that nothing in section 10706 exempts proposed agreements
                                                                                   described in section 10706 from the antitrust laws, and requiring
                                                                                   that the STB consider the impact of the proposed agreement on
                                                                                   shippers and on affected communities.
                                                                                   Section 8. Effective Date
                                                                                     Section 8 provides that a civil action under sections 4, 15, or 16
                                                                                   of the Clayton Act, or section 5 of the Federal Trade Commission
                                                                                   Act (the antitrust laws revived with respect to railroads by this
                                                                                   bill) may not be filed with respect to conduct exempted from the
                                                                                   antitrust laws by the STB or ICC. However, under subsection (b)
                                                                                   of section 8, such an action may be brought with respect to pre-
                                                                                   viously exempted conduct or activity that is continued subsequent
                                                                                   to the date of enactment of this Act when such a civil action is filed
                                                                                   180 days after the date of enactment of the Act.
                                                                                               IV. CONGRESSIONAL BUDGET OFFICE COST ESTIMATE
                                                                                     The Committee sets forth, with respect to the bill, S. 49, the fol-
                                                                                   lowing estimate and comparison prepared by the Director of the
                                                                                   Congressional Budget Office under section 402 of the Congressional
                                                                                   Budget Act of 1974:
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                                                                                                                                   MARCH 25, 2011.
                                                                                   Hon. PATRICK J. LEAHY,
                                                                                   Chairman, Committee on the Judiciary,
                                                                                   U.S. Senate, Washington, DC.
                                                                                     DEAR MR. CHAIRMAN: The Congressional Budget Office has pre-
                                                                                   pared the enclosed cost estimate for S. 49, the Railroad Antitrust
                                                                                   Enforcement Act of 2011.
                                                                                     If you wish further details on this estimate, we will be pleased
                                                                                   to provide them. The CBO staff contact is Martin von Gnechten.
                                                                                          Sincerely,
                                                                                                                          DOUGLAS W. ELMENDORF.
                                                                                     Enclosure.
                                                                                   S. 49—The Railroad Antitrust Enforcement Act of 2011
                                                                                      S. 49 would expand the authority of the Department of Justice
                                                                                   (DOJ) and the Federal Trade Commission (FTC) to prosecute,
                                                                                   under the Clayton Act, certain antitrust violations relating to rail-
                                                                                   roads. Currently, the Surface Transportation Board (STB) has the
                                                                                   primary authority to regulate mergers, acquisitions, rate-setting,
                                                                                   and pooling arrangements under the Interstate Commerce Act. The
                                                                                   roles of DOJ and FTC generally are limited to investigating poten-
                                                                                   tial antitrust violations and providing advice to the STB.
                                                                                      Based on information provided by DOJ, CBO estimates that im-
                                                                                   plementing S. 49 would have no significant effect on the federal
                                                                                   budget. Enacting S. 49 could increase direct spending and reve-
                                                                                   nues; therefore, pay-as-you-go procedures apply. However, CBO es-
                                                                                   timates that any such changes would be insignificant in any year.
                                                                                      CBO expects that DOJ would continue to perform investigations
                                                                                   of railroads (investigations under current law are similar to those
                                                                                   that would be performed under the bill), and that few of those in-
                                                                                   vestigations would result in enforcement actions. Accordingly, CBO
                                                                                   expects that DOJ’s workload would not increase substantially
                                                                                   under the bill. CBO also expects that DOJ, rather than FTC, would
                                                                                   handle antitrust enforcement matters specified under the bill; thus,
                                                                                   we do not anticipate that FTC would incur significant additional
                                                                                   enforcement costs. Anyone convicted of the antitrust violations
                                                                                   specified in the bill would be subject to criminal fines, which are
                                                                                   recorded as revenues, deposited in the Crime Victims Fund, and
                                                                                   later spent. Thus, enacting S. 49 could increase revenues and direct
                                                                                   spending, but CBO estimates that any such effects would be insig-
                                                                                   nificant given the small number of cases that would likely be af-
                                                                                   fected.
                                                                                      S. 49 would impose a private-sector mandate, as defined in the
                                                                                   Unfunded Mandates Reform Act (UMRA), by eliminating railroads’
                                                                                   exemptions from certain antitrust laws. It is unclear how making
                                                                                   railroads subject to the standards of those antitrust statues would
                                                                                   affect current business practices, if at all. The extent to which rail-
                                                                                   road carriers would have to forgo business opportunities and the
                                                                                   value of those lost opportunities are also uncertain. Because of
                                                                                   those uncertainties, CBO has no basis for estimating the costs to
                                                                                   railroad carriers or whether those costs would exceed the annual
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                                                                                   threshold established in UMRA for private-sector mandates ($142
                                                                                   million in 2011, adjusted annually for inflation).




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                                                                                     S. 49 contains no intergovernmental mandates as defined in
                                                                                   UMRA and would impose no costs on state, local, or tribal govern-
                                                                                   ments.
                                                                                     The CBO staff contacts for this estimate are Martin von
                                                                                   Gnechten (for federal costs) and Sam Wice (for the private-sector
                                                                                   impact). The estimate was approved by Theresa Gullo, Deputy As-
                                                                                   sistant Director for Budget Analysis.
                                                                                                          V. REGULATORY IMPACT EVALUATION
                                                                                     In compliance with rule XXVI of the Standing Rules of the Sen-
                                                                                   ate, the Committee finds that no significant regulatory impact will
                                                                                   result from the enactment of S. 49.
                                                                                                                               VI. CONCLUSION
                                                                                     The Railroad Antitrust Enforcement Act of 2011, S. 49, will re-
                                                                                   move current exemptions and subject the freight railroad industry
                                                                                   to the provisions of the Nation’s antitrust laws. By requiring rail-
                                                                                   roads to comply with the antitrust laws like other major industries
                                                                                   operating service networks, S. 49 will restore to railroad customers
                                                                                   the benefits of open competition that prevail elsewhere in the econ-
                                                                                   omy.
                                                                                       VII. CHANGES TO EXISTING LAW MADE BY THE BILL, AS REPORTED
                                                                                     In compliance with paragraph 12 of rule XXVI of the Standing
                                                                                   Rules of the Senate, changes in existing law made by S. 49 as re-
                                                                                   ported, are shown as follows (existing law proposed to be omitted
                                                                                   is enclosed in black brackets, new matter is printed in italic, and
                                                                                   existing law in which no change is proposed is shown in roman):

                                                                                            UNITED STATES CODE, TITLE 15—
                                                                                                COMMERCE AND TRACE
                                                                                         CHAPTER 1—MONOPOLIES AND COMBINATIONS IN
                                                                                                    RESTRAINT OF TRADE
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 15. SUITS BY PERSONS INJURED
                                                                                     (a) AMOUNT OF RECOVERY; PREJUDGMENT INTEREST.—Except as
                                                                                   provided in subsection (b) of this section, any person who shall be
                                                                                   injured in his business or property by reason of anything forbidden
                                                                                   in the antitrust laws may sue therefore in any district court of the
                                                                                   United States in the district in which the defendant resides or is
                                                                                   found or has an agent, without respect to the amount in con-
                                                                                   troversy, and shall recover threefold the damages by him sus-
                                                                                   tained, and the cost of suit, including a reasonable attorney’s fee.
                                                                                   The court may award under this section, pursuant to a motion by
                                                                                   such person promptly made, simple interest on actual damages for
                                                                                   the period beginning on the date of service of such person’s plead-
                                                                                   ing setting forth a claim under the antitrust laws and ending on
                                                                                   the date of judgment, or for any shorter period therein, if the court
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                                                                                   finds that the award of such interest for such period is just in the
                                                                                   circumstances. In determining whether an award of interest under




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                                                                                   this section for any period is just in the circumstances, the court
                                                                                   shall consider only—
                                                                                          (1) whether such person or the opposing party, or either par-
                                                                                       ty’s representative, made motions or asserted claims or de-
                                                                                       fenses so lacking in merit as to show that such party or rep-
                                                                                       resentative acted intentionally for delay, or otherwise acted in
                                                                                       bad faith;
                                                                                          (2) whether, in the course of the action involved, such person
                                                                                       or the opposing party, or either party’s representative, violated
                                                                                       any applicable rule, statute, or court order providing for sanc-
                                                                                       tions for dilatory behavior or otherwise providing for expedi-
                                                                                       tious proceedings; and
                                                                                          (3) whether such person or the opposing party, or either par-
                                                                                       ty’s representative, engaged in conduct primarily for the pur-
                                                                                       pose of delaying the litigation or increasing the cost thereof.
                                                                                     (b) Subsection (a) shall apply to a common carrier by railroad
                                                                                   subject to the jurisdiction of the Surface Transportation Board
                                                                                   under subtitle IV of title 49, United States Code, without regard to
                                                                                   whether such railroads have filed rates or whether a complaint
                                                                                   challenging a rate has been filed.
                                                                                     ø(b)¿(c) AMOUNT OF DAMAGES PAYABLE TO FOREIGN STATES AND
                                                                                   INSTRUMENTALITIES OF FOREIGN STATES.—
                                                                                          (1) Except as provided in paragraph (2), any person who is
                                                                                       a foreign state may not recover under subsection (a) of this sec-
                                                                                       tion an amount in excess of the actual damages sustained by
                                                                                       it and the cost of suit, including a reasonable attorney’s fee.
                                                                                          (2) Paragraph (1) shall not apply to a foreign state if—
                                                                                               (A) such foreign state would be denied, under section
                                                                                            1605(a)(2) of title 28, immunity in a case in which the ac-
                                                                                            tion is based upon a commercial activity, or an act, that
                                                                                            is the subject matter of its claim under this section;
                                                                                               (B) such foreign state waives all defenses based upon or
                                                                                            arising out of its status as a foreign state, to any claims
                                                                                            brought against it in the same action;
                                                                                               (C) such foreign state engages primarily in commercial
                                                                                            activities; and
                                                                                               (D) such foreign state does not function, with respect to
                                                                                            the commercial activity, or the act, that is the subject mat-
                                                                                            ter of its claim under this section as a procurement entity
                                                                                            for itself or for another foreign state.
                                                                                     ø(c)¿(d) DEFINITIONS.—For purposes of this section—
                                                                                          (1) the term ‘‘commercial activity’’ shall have the meaning
                                                                                       given it in section 1603(d) of title 28, and
                                                                                          (2) the term ‘‘foreign state’’ shall have the meaning given it
                                                                                       in section 1603(a) of title 28.
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 7. ACQUISITION BY ONE CORPORATION OF STOCK OF ANOTHER
                                                                                              (15 U.S.C. § 18).
                                                                                     No person engaged in commerce or in any activity affecting com-
                                                                                   merce shall acquire, directly or indirectly, the whole or any part of
                                                                                   the stock or other share capital and no person subject to the juris-
                                                                                   diction of the Federal Trade Commission shall acquire the whole or
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                                                                                   any part of the assets of another person engaged also in commerce
                                                                                   or in any activity affecting commerce, where in any line of com-




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                                                                                   merce or in any activity affecting commerce in any section of the
                                                                                   country, the effect of such acquisition may be substantially to less-
                                                                                   en competition, or to tend to create a monopoly.
                                                                                      No person shall acquire, directly or indirectly, the whole or any
                                                                                   part of the stock or other share capital and no person subject to
                                                                                   the jurisdiction of the Federal Trade Commission shall acquire the
                                                                                   whole or any part of the assets of one or more persons engaged in
                                                                                   commerce or in any activity affecting commerce, where in any line
                                                                                   of commerce or in any activity affecting commerce in any section
                                                                                   of the country, the effect of such acquisition, of such stocks or as-
                                                                                   sets, or of the use of such stock by the voting or granting of proxies
                                                                                   or otherwise, may be substantially to lessen competition, or to tend
                                                                                   to create a monopoly.
                                                                                      This section shall not apply to persons purchasing such stock
                                                                                   solely for investment and not using the same by voting or other-
                                                                                   wise to bring about, or in attempting to bring about, the substan-
                                                                                   tial lessening of competition. Nor shall anything contained in this
                                                                                   section prevent a corporation engaged in commerce or in any activ-
                                                                                   ity affecting commerce from causing the formation of subsidiary
                                                                                   corporations for the actual carrying on of their immediate lawful
                                                                                   business, or the natural and legitimate branches or extensions
                                                                                   thereof, or from owning and holding all or a part of the stock of
                                                                                   such subsidiary corporations, when the effect of such formation is
                                                                                   not to substantially lessen competition.
                                                                                      Nor shall anything herein contained be construed to prohibit any
                                                                                   common carrier subject to the laws to regulate commerce from aid-
                                                                                   ing in the construction of branches or short lines so located as to
                                                                                   become feeders to the main line of the company so aiding in such
                                                                                   construction or from acquiring or owning all or any part of the
                                                                                   stock of such branch lines, nor to prevent any such common carrier
                                                                                   from acquiring and owning all or any part of the stock of a branch
                                                                                   or short line constructed by an independent company where there
                                                                                   is no substantial competition between the company owning the
                                                                                   branch line so constructed and the company owning the main line
                                                                                   acquiring the property or an interest therein, nor to prevent such
                                                                                   common carrier from extending any of its lines through the me-
                                                                                   dium of the acquisition of stock or otherwise of any other common
                                                                                   carrier where there is no substantial competition between the com-
                                                                                   pany extending its lines and the company whose stock, property, or
                                                                                   an interest therein is so acquired.
                                                                                      Nothing contained in this section shall be held to affect or impair
                                                                                   any right heretofore legally acquired: Provided, That nothing in
                                                                                   this section shall be held or construed to authorize or make lawful
                                                                                   anything heretofore prohibited or made illegal by the antitrust
                                                                                   laws, nor to exempt any person from the penal provisions thereof
                                                                                   or the civil remedies therein provided.
                                                                                      Nothing contained in this section shall apply to transactions duly
                                                                                   consummated pursuant to authority given by the Secretary of
                                                                                   Transportation, Federal Power Commission, Surface Transporta-
                                                                                   tion Board (except for transactions described in section 11321 of title
                                                                                   49, United States Code), the Securities and Exchange Commission
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                                                                                   in the exercise of its jurisdiction under section 79j of this title, the
                                                                                   United States Maritime Commission, or the Secretary of Agri-




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                                                                                   culture under any statutory provision vesting such power in such
                                                                                   Commission, Board, or Secretary.
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 11. ENFORCEMENT PROVISIONS (15 U.S.C. § 21).
                                                                                     (a) COMMISSION, BOARD, OR SECRETARY AUTHORIZED TO ENFORCE
                                                                                   COMPLIANCE.—Authority to enforce compliance with sections 13,
                                                                                   14, 18, and 19 of this title by the persons respectively subject
                                                                                   thereto is vested in the Surface Transportation Board where appli-
                                                                                   cable to common carriers subject to jurisdiction under subtitle IV
                                                                                   of title 49 (except for agreements described in section 10706 of that
                                                                                   title and transactions described in section 11321 of that title); in the
                                                                                   Federal Communications Commission where applicable to common
                                                                                   carriers engaged in wire or radio communication or radio trans-
                                                                                   mission of energy; in the Secretary of Transportation where appli-
                                                                                   cable to air carriers and foreign air carriers subject to part A of
                                                                                   subtitle VII of title 49; in the Board of Governors of the Federal
                                                                                   Reserve System where applicable to banks, banking associations,
                                                                                   and trust companies; and in the Federal Trade Commission where
                                                                                   applicable to all other character of commerce to be exercised as fol-
                                                                                   lows:
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 16. INJUNCTIVE RELIEF FOR PRIVATE PARTIES; EXCEPTION;
                                                                                              COSTS (15 U.S.C. § 26).
                                                                                     Any person, firm, corporation, or association shall be entitled to
                                                                                   sue for and have injunctive relief, in any court of the United States
                                                                                   having jurisdiction over the parties, against threatened loss or
                                                                                   damage by a violation of the antitrust laws, including sections 13,
                                                                                   14, 18, and 19 of this title, when and under the same conditions
                                                                                   and principles as injunctive relief against threatened conduct that
                                                                                   will cause loss or damage is granted by courts of equity, under the
                                                                                   rules governing such proceedings, and upon the execution of proper
                                                                                   bond against damages for an injunction improvidently granted and
                                                                                   a showing that the danger of irreparable loss or damage is imme-
                                                                                   diate, a preliminary injunction may issue: Provided, That nothing
                                                                                   herein contained shall be construed to entitle any person, firm, cor-
                                                                                   poration, or association, except the United States, to bring suit for
                                                                                   injunctive relief against any common carrier that is not a railroad
                                                                                   subject to the jurisdiction of the Surface Transportation Board
                                                                                   under subtitle IV of title 49. In any action under this section in
                                                                                   which the plaintiff substantially prevails, the court shall award the
                                                                                   cost of suit, including a reasonable attorney’s fee, to such plaintiff.
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 29.
                                                                                      In any civil action against a common carrier railroad under sec-
                                                                                   tion 4, 4C, 15, or 16 of this Act, the district court shall not be re-
                                                                                   quired to defer to the primary jurisdiction of the Surface Transpor-
                                                                                   tation Board.

                                                                                                FEDERAL TRADE COMMISSION ACT
                                                                                                      (15 U.S.C. § 41 et seq.)
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                                                                                               *           *               *              *           *          *           *




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                                                                                   SEC. 5. UNFAIR METHODS OF COMPETITION UNLAWFUL; PREVENTION
                                                                                              BY COMMISSION (15 U.S.C. § 45).
                                                                                     (a) DECLARATION OF UNLAWFULNESS; POWER TO PROHIBIT UN-
                                                                                   FAIR PRACTICES; INAPPLICABILITY TO FOREIGN TRADE.—
                                                                                          (1) Unfair methods of competition in or affecting commerce,
                                                                                        and unfair or deceptive acts or practices in or affecting com-
                                                                                        merce, are hereby declared unlawful.
                                                                                          (2) The Commission is hereby empowered and directed to
                                                                                        prevent persons, partnerships, or corporations, except banks,
                                                                                        savings and loan institutions described in section 57a(f)(3) of
                                                                                        this title, Federal credit unions described in section 57a(f)(4) of
                                                                                        this title, common carriers, except for railroads, subject to the
                                                                                        Acts to regulate commerce, air carriers and foreign air carriers
                                                                                        subject to part A of subtitle VII of title 49, and persons, part-
                                                                                        nerships, or corporations insofar as they are subject to the
                                                                                        Packers and Stockyards Act, 1921, as amended (7 U.S.C. 181
                                                                                        et seq.), except as provided in section 406(b) of said Act (7
                                                                                        U.S.C. 227(b)), from using unfair methods of competition in or
                                                                                        affecting commerce and unfair or deceptive acts or practices in
                                                                                        or affecting commerce.
                                                                                          (3) This subsection shall not apply to unfair methods of com-
                                                                                        petition involving commerce with foreign nations (other than
                                                                                        import commerce) unless—
                                                                                                (A) such methods of competition have a direct, substan-
                                                                                             tial, and reasonably foreseeable effect—
                                                                                                     (i) on commerce which is not commerce with foreign
                                                                                                  nations, or on import commerce with foreign nations;
                                                                                                  or
                                                                                                     (ii) on export commerce with foreign nations, of a
                                                                                                  person engaged in such commerce in the United
                                                                                                  States; and
                                                                                                (B) such effect gives rise to a claim under the provisions
                                                                                             of this subsection, other than this paragraph.
                                                                                     If this subsection applies to such methods of competition only be-
                                                                                   cause of the operation of subparagraph (A)(ii), this subsection shall
                                                                                   apply to such conduct only for injury to export business in the
                                                                                   United States.
                                                                                               *           *               *              *           *          *           *

                                                                                            TITLE 49, UNITED STATES CODE—
                                                                                                   TRANSPORTATION
                                                                                               *           *               *              *           *          *           *

                                                                                                Subtitle IV—Interstate Transportation
                                                                                                                      PART A—RAIL
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                                                                                               *           *               *              *           *          *           *




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                                                                                                                  CHAPTER 107—RATES
                                                                                                          Subchapter I—General Authority
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 10706. øRATE AGREEMENTS: EXEMPTION FROM ANTITRUST
                                                                                               LAWS¿ RATE AGREEMENTS.
                                                                                     (a)(1) IN THIS SUBSECTION—
                                                                                           (A) the term ‘‘affiliate’’ means a person controlling, controlled
                                                                                        by, or under common control or ownership with another person
                                                                                        and ‘‘ownership’’ refers to equity holdings in a business entity
                                                                                        of at least 5 percent;
                                                                                           (B) the term ‘‘single-line rate’’ refers to a rate or allowance
                                                                                        proposed by a single rail carrier that is applicable only over its
                                                                                        line and for which the transportation (exclusive of terminal
                                                                                        services by switching, drayage or other terminal carriers or
                                                                                        agencies) can be provided by that carrier; and
                                                                                           (C) the term ‘‘practicably participates in the movement’’ shall
                                                                                        have such meaning as the Board shall by regulation prescribe.
                                                                                      (2)(A) A rail carrier providing transportation subject to the juris-
                                                                                   diction of the Board under this part that is a party to an agree-
                                                                                   ment of at least 2 rail carriers that relates to rates (including
                                                                                   charges between rail carriers and compensation paid or received for
                                                                                   the use of facilities and equipment), classifications, divisions, or
                                                                                   rules related to them, or procedures for joint consideration, initi-
                                                                                   ation, publication, or establishment of them, shall apply to the
                                                                                   Board for approval of that agreement under this subsection. The
                                                                                   Board shall approve the agreement only when it finds that the
                                                                                   making and carrying out of the agreement will further the trans-
                                                                                   portation policy of section 10101 of this title and may require com-
                                                                                   pliance with conditions necessary to make the agreement further
                                                                                   that policy as a condition of its approval. If the Board approves the
                                                                                   agreement, it may be made and carried out under its terms and
                                                                                   under the conditions required by the Boardø, and the Sherman Act
                                                                                   (15 U.S.C. 1, et seq.), the Clayton Act (15 U.S.C. 12, et seq.), the
                                                                                   Federal Trade Commission Act (15 U.S.C. 41, et seq.), sections 73
                                                                                   and 74 of the Wilson Tariff Act (15 U.S.C. 8 and 9), and the Act
                                                                                   of June 19, 1936 (15 U.S.C. 13, 13a, 13b, 21a) do not apply to par-
                                                                                   ties and other persons with respect to making or carrying out the
                                                                                   agreement¿. However, the Board may not approve or continue ap-
                                                                                   proval of an agreement when the conditions required by it are not
                                                                                   met or if it does not receive a verified statement under subpara-
                                                                                   graph (B) of this paragraph.
                                                                                      (B) The Board may approve an agreement under subparagraph
                                                                                   (A) of this paragraph only when the rail carriers applying for ap-
                                                                                   proval file a verified statement with the Board. Each statement
                                                                                   must specify for each rail carrier that is a party to the agreement—
                                                                                           (i) the name of the carrier;
                                                                                           (ii) the mailing address and telephone number of its head-
                                                                                        quarter’s office; and
                                                                                           (iii) the names of each of its affiliates and the names, ad-
                                                                                        dresses, and affiliates of each of its officers and directors and
                                                                                        of each person, together with an affiliate, owning or controlling
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                                                                                        any debt, equity, or security interest in it having a value of at
                                                                                        least $1,000,000.




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                                                                                      (3)(A) An organization established or continued under an agree-
                                                                                   ment approved under this subsection shall make a final disposition
                                                                                   of a rule or rate docketed with it by the 120th day after the pro-
                                                                                   posal is docketed. Such an organization may not—
                                                                                            (i) permit a rail carrier to discuss, to participate in agree-
                                                                                         ments related to, or to vote on single-line rates proposed by an-
                                                                                         other rail carrier, except that for purposes of general rate in-
                                                                                         creases and broad changes in rates, classifications, rules, and
                                                                                         practices only, if the Board finds at any time that the imple-
                                                                                         mentation of this clause is not feasible, it may delay or sus-
                                                                                         pend such implementation in whole or in part;
                                                                                            (ii) permit a rail carrier to discuss, to participate in agree-
                                                                                         ments related to, or to vote on rates related to a particular
                                                                                         interline movement unless that rail carrier practicably partici-
                                                                                         pates in the movement; or
                                                                                            (iii) if there are interline movements over two or more routes
                                                                                         between the same end points, permit a carrier to discuss, to
                                                                                         participate in agreements related to, or to vote on rates except
                                                                                         with a carrier which forms part of a particular single route. If
                                                                                         the Board finds at any time that the implementation of this
                                                                                         clause is not feasible, it may delay or suspend such implemen-
                                                                                         tation in whole or in part.
                                                                                      (B)(i) In any proceeding in which a party alleges that a rail car-
                                                                                   rier voted or agreed on a rate or allowance in violation of this sub-
                                                                                   section, that party has the burden of showing that the vote or
                                                                                   agreement occurred. A showing of parallel behavior does not satisfy
                                                                                   that burden by itself.
                                                                                      (ii) In any proceeding in which it is alleged that a carrier was
                                                                                   a party to an agreement, conspiracy, or combination in violation of
                                                                                   a Federal law cited in subsection (a)(2)(A) of this section or of any
                                                                                   similar State law, proof of an agreement, conspiracy, or combina-
                                                                                   tion may not be inferred from evidence that two or more rail car-
                                                                                   riers acted together with respect to an interline rate or related
                                                                                   matter and that a party to such action took similar action with re-
                                                                                   spect to a rate or related matter on another route or traffic. In any
                                                                                   proceeding in which such a violation is alleged, evidence of a dis-
                                                                                   cussion or agreement between or among such rail carrier and one
                                                                                   or more other rail carriers, or of any rate or other action resulting
                                                                                   from such discussion or agreement, shall not be admissible if the
                                                                                   discussion or agreement—
                                                                                            (I) was in accordance with an agreement approved under
                                                                                         paragraph (2) of this subsection; or
                                                                                            (II) Concerned an interline movement of the rail carrier, and
                                                                                         the discussion or agreement would not, considered by itself,
                                                                                         violate the laws referred to in the first sentence of this clause.
                                                                                   In any proceeding before a jury, the court shall determine whether
                                                                                   the requirements of subclause (I) or (II) are satisfied before allow-
                                                                                   ing the introduction of any such evidence.
                                                                                      (C) An organization described in subparagraph (A) of this para-
                                                                                   graph shall provide that transcripts or sound recordings be made
                                                                                   of all meetings, that records of votes be made, and that such tran-
                                                                                   scripts or recordings and voting records be submitted to the Board
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                                                                                   and made available to other Federal agencies in connection with
                                                                                   their statutory responsibilities over rate bureaus, except that such




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                                                                                   material shall be kept confidential and shall not be subject to dis-
                                                                                   closure under section 552 of title 5, United States Code.
                                                                                      (4) Notwithstanding any other provision of this subsection, one or
                                                                                   more rail carriers may enter into an agreement, without obtaining
                                                                                   prior Board approval, that provides solely for compilation, publica-
                                                                                   tion, and other distribution of rates in effect or to become effective.
                                                                                   øThe Sherman Act (15 U.S.C. 1 et seq.), the Clayton Act (15 U.S.C.
                                                                                   12 et seq.), the Federal Trade Commission Act (15 U.S.C. 41 et
                                                                                   seq.), sections 73 and 74 of the Wilson Tariff Act (15 U.S.C. 8 and
                                                                                   9), and the Act of June 19, 1936 (15 U.S.C. 13, 13a, 13b, 21a) shall
                                                                                   not apply to parties and other persons with respect to making or
                                                                                   carrying out such agreement. However, the¿ The Board may, upon
                                                                                   application or on its own initiative, investigate whether the parties
                                                                                   to such an agreement have exceeded its scope, and upon a finding
                                                                                   that they have, the Board may issue such orders as are necessary,
                                                                                   including an order dissolving the agreement, to ensure that actions
                                                                                   taken pursuant to the agreement are limited as provided in this
                                                                                   paragraph.
                                                                                      (5)(A) Whenever two or more shippers enter into an agreement
                                                                                   to discuss among themselves that relates to the amount of com-
                                                                                   pensation such shippers propose to be paid by rail carriers pro-
                                                                                   viding transportation subject to the jurisdiction of the Board under
                                                                                   this part, for use by such rail carriers of rolling stock owned or
                                                                                   leased by such shippers, the shippers shall apply to the Board for
                                                                                   approval of that agreement under this paragraph. The Board shall
                                                                                   approve the agreement only when it finds that the making and car-
                                                                                   rying out of the agreement will further the transportation policy
                                                                                   set forth in section 10101 of this title and may require compliance
                                                                                   with conditions necessary to make the agreement further that pol-
                                                                                   icy as a condition of approval. If the Board approves the agree-
                                                                                   ment, it may be made and carried out under its terms and under
                                                                                   the terms required by the Boardø, and the antitrust laws set forth
                                                                                   in paragraph (2) of this subsection do not apply to parties and
                                                                                   other persons with respect to making or carrying out the agree-
                                                                                   ment¿. The Board shall approve or disapprove an agreement under
                                                                                   this paragraph within one year after the date application for ap-
                                                                                   proval of such agreement is made.
                                                                                      (B) If the Board approves an agreement described in subpara-
                                                                                   graph (A) of this paragraph and the shippers entering into such
                                                                                   agreement and the rail carriers proposing to use rolling stock
                                                                                   owned or leased by such shippers, under payment by such carriers
                                                                                   or under a published allowance, are unable to agree upon the
                                                                                   amount of compensation to be paid for the use of such rolling stock,
                                                                                   any party directly involved in the negotiations may require that
                                                                                   the matter be settled by submitting the issues in dispute to the
                                                                                   Board. The Board shall render a binding decision, based upon a
                                                                                   standard of reasonableness and after taking into consideration any
                                                                                   past precedents on the subject matter of the negotiations, no later
                                                                                   than 90 days after the date of the submission of the dispute to the
                                                                                   Board.
                                                                                      (C) Nothing in this paragraph shall be construed to change the
                                                                                   law in effect prior to October 1, 1980, with respect to the obligation
                                                                                   of rail carriers to utilize rolling stock owned or leased by shippers.
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                                                                                      (b) The Board may require an organization established or contin-
                                                                                   ued under an agreement approved under this section to maintain




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                                                                                   records and submit reports. The Board may inspect a record main-
                                                                                   tained under this section.
                                                                                      (c) The Board may review an agreement approved under sub-
                                                                                   section (a) of this section and shall change the conditions of ap-
                                                                                   proval or terminate it when necessary to comply with the public in-
                                                                                   terest and subsection (a). The Board shall postpone the effective
                                                                                   date of a change of an agreement under this subsection for what-
                                                                                   ever period it determines to be reasonably necessary to avoid un-
                                                                                   reasonable hardship.
                                                                                      (d) The Board may begin a proceeding under this section on its
                                                                                   own initiative or on application. Action of the Board under this sec-
                                                                                   tion—
                                                                                            (1) approving an agreement;
                                                                                            (2) denying, ending, or changing approval;
                                                                                            (3) prescribing the conditions on which approval is granted;
                                                                                         or
                                                                                            (4) changing those conditions, has effect only as related to
                                                                                         application of the antitrust laws referred to in subsection (a)
                                                                                         of this section.
                                                                                      ø(e)(1) The Federal Trade Commission, in consultation with the
                                                                                   Antitrust Division of the Department of Justice, shall prepare peri-
                                                                                   odically an assessment of, and shall report to the Board on—
                                                                                            ø(A) possible anticompetitive features of—
                                                                                                 ø(i) agreements approved or submitted for approval
                                                                                              under subsection (a) of this section; and
                                                                                                 ø(ii) an organization operating under those agreements;
                                                                                              and
                                                                                            ø(B) possible ways to alleviate or end an anticompetitive fea-
                                                                                         ture, effect, or aspect in a manner that will further the goals
                                                                                         of this part and of the transportation policy of section 10101
                                                                                         of this title.
                                                                                      ø(2) Reports received by the Board under this subsection shall be
                                                                                   published and made available to the public under section 552(a) of
                                                                                   title 5.¿
                                                                                      (e) APPLICATION OF ANTITRUST LAWS.—
                                                                                            (1) IN GENERAL.—Nothing in this section exempts a proposed
                                                                                         agreement described in subsection (a) from the application of
                                                                                         the Sherman Act (15 U.S.C. 1 et seq.), the Clayton Act (15
                                                                                         U.S.C. 12, 14 et seq.), the Federal Trade Commission Act (15
                                                                                         U.S.C. 41 et seq.), section 73 or 74 of the Wilson Tariff Act (15
                                                                                         U.S.C. 8 and 9), or the Act of June 19, 1936 (15 U.S.C. 13, 13a,
                                                                                         13b, 21a).
                                                                                            (2) ANTITRUST ANALYSIS TO CONSIDER IMPACT.—In reviewing
                                                                                         any such proposed agreement for the purpose of any provision
                                                                                         of law described in paragraph (1), the Board shall take into ac-
                                                                                         count, among other considerations, the impact of the proposed
                                                                                         agreement on shippers, on consumers, and on affected commu-
                                                                                         nities.
                                                                                               *           *               *              *           *          *           *
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                                                                                                                CHAPTER 113—FINANCE
                                                                                               *           *               *              *           *          *           *




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                                                                                                               Subchapter II—Combinations
                                                                                               *           *               *              *           *          *           *
                                                                                   SEC. 11321. SCOPE OF AUTHORITY.
                                                                                      (a) øThe authority¿ Except as provided in sections 4 (15 U.S.C.
                                                                                   15), 4C (15 U.S.C. 15c), and section 16 (15 U.S.C. 26) of the Clayton
                                                                                   Act (15 U.S.C. 21(a), the authority of the Board under this sub-
                                                                                   chapter is exclusive. A rail carrier or corporation participating in
                                                                                   or resulting from a transaction approved by or exempted by the
                                                                                   Board under this subchapter may carry out the transaction, own
                                                                                   and operate property, and exercise control or franchises acquired
                                                                                   through the transaction without the approval of a State authority.
                                                                                   A rail carrier, corporation, or person participating in that approved
                                                                                   or exempted transaction øis exempt from the antitrust laws and
                                                                                   from all other law,¿ is exempt from all other law (except the anti-
                                                                                   trust laws referred to in subsection (c)), including State and munic-
                                                                                   ipal law, as necessary to let that rail carrier, corporation, or person
                                                                                   carry out the transaction, hold, maintain, and operate property,
                                                                                   and exercise control or franchises acquired through the transaction.
                                                                                   However, if a purchase and sale, a lease, or a corporate consolida-
                                                                                   tion or merger is involved in the transaction, the carrier or corpora-
                                                                                   tion may carry out the transaction only with the assent of a major-
                                                                                   ity, or the number required under applicable State law, of the votes
                                                                                   of the holders of the capital stock of that corporation entitled to
                                                                                   vote. The vote must occur at a regular meeting, or special meeting
                                                                                   called for that purpose, of those stockholders and the notice of the
                                                                                   meeting must indicate its purpose.
                                                                                      (b) A power granted under this subchapter to a carrier or cor-
                                                                                   poration is in addition to and changes its powers under its cor-
                                                                                   porate charter and under State law. Action under this subchapter
                                                                                   does not establish or provide for establishing a corporation under
                                                                                   the laws of the United States.
                                                                                      (c) APPLICATION OF ANTITRUST LAWS.—
                                                                                           (1) IN GENERAL.—Nothing in this section exempts a proposed
                                                                                         agreement described in subsection (a) from the application of
                                                                                         the Sherman Act (15 U.S.C. 1 et seq.), the Clayton Act (15
                                                                                         U.S.C. 12, 14 et seq.), the Federal Trade Commission Act (15
                                                                                         U.S.C. 41 et seq.), section 73 or 74 of the Wilson Tariff Act (15
                                                                                         U.S.C. 8 and 9), or the Act of June 19, 1936 (15 U.S.C. 13, 13a,
                                                                                         13b, 21a). The preceding sentence shall not apply to any trans-
                                                                                         action relating to the pooling of railroad cars approved by the
                                                                                         Surface Transportation Board or its predecessor agency pursu-
                                                                                         ant to section 11322 of Title 49, United States Code.
                                                                                           (2) ANTITRUST ANALYSIS TO CONSIDER IMPACT.—In reviewing
                                                                                         any such proposed agreement for the purpose of any provision
                                                                                         of law described in paragraph (1), the Board shall take into ac-
                                                                                         count, among other considerations, the impact of the proposed
                                                                                         agreement on shippers, on consumers, and on affected commu-
                                                                                         nities.
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